Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                            Document    Page 1 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                            Document    Page 2 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                            Document    Page 3 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                            Document    Page 4 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                            Document    Page 5 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                            Document    Page 6 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                            Document    Page 7 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                            Document    Page 8 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                            Document    Page 9 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                           Document     Page 10 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                           Document     Page 11 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                           Document     Page 12 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                           Document     Page 13 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                           Document     Page 14 of 15
Case 17-81424-CRJ13   Doc 84 Filed 06/12/20 Entered 06/12/20 10:13:30   Desc Main
                           Document     Page 15 of 15
